                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE                                  DEC 0 4 2014
                                   DIVISION
                                                                                      JS DISTRICT COURT
Michael White,                                                                          MID DI ST TENN
      Plaintiff,

                                                         Civil Action No.
V.

Wayne Wesson, Elina B. Foster, Carol Jean,
Charles Lee, Weakley Eddie Bernard,                      JURY TRIAL REQUESTED o YES
W. Michael McCown, Franklin Lee Russell,
      Defendants.


                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
                            PURSUANT TO 42 U.S.C. § 1983

I.     PARTIES TO THIS LAWSUIT

      A. Plaintiff(s) bringing this lawsuit:

              1. Name of the first plaintiff: Michael White
                 Prison: 00388508
                 Address of the first plaintiff: Trousdale Turner Correctional Center, 140 Macon
                 Way Hartsville, TN 37074

              Status of Plaintiff. CONVICTED



Revised 11/2014




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      B. Defendant(s) against whom this lawsuit is being brought:

          1. Name of the first defendant: T.B.I. Wayne Wesson
             Place of employment of the first defendant: Tennessee Bureau of Investigation

             First defendant's address: P.O. Box 167 Chapel Hill, TN 37304
             (last known address)

             Named in official capacity?             v   Yes           No
             Named in individual capacity?           v   Yes           No

          2. Name of the second defendant: Circuit Court Clerk Elina B. Foster
             Place of employment of the second defendant: 302 Marshall County Courthouse,
             Lewisburg, TN 37091
             Second defendant's address: (unknown address)


             Named in official capacity?                 Yes           No
             Named in individual capacity?               Yes           No



II.   JURISDICTION

      A. Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).
         Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3).

          If you wish to assert jurisdiction under different or additional statutes, you may list them
          below:




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III.   PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

       A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
          United States District Court for the Middle District of Tennessee, or in any other federal or
          state court?                  Yes          v No


       B. If you checked the box marked "Yes" above, provide the following information:

          1. Parties to the previous lawsuit:

              Plaintiffs

              Defendants


          2. In what court did you file the previous lawsuit?

              (If you filed the lawsuit in federal court, provide the name of the District. If you filed the
              lawsuit in state court, provide the name of the state and the county.)

          3. What was the case number of the previous lawsuit?

          4. What was the Judge's name to whom the case was assigned?


          5. What type of case was it (for example, habeas corpus or civil rights action)?


          6. When did you file the previous lawsuit? (Provide the year, if you do not know the exact
             date.)

          7. What was the result of the previous lawsuit? For example, was the case dismissed or
             appealed, or is it still pending?

          8. When was the previous lawsuit decided by the court? (Provide the year, if you do not
             know the exact date.)

          9. Did the circumstances of the prior lawsuit involve the same facts or circumstances that
             you are alleging in this lawsuit?       Yes            No




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IV.   EXHAUSTION

      A. Are the facts of your lawsuit related to your present confinement?

            V    Yes            No

      IV   If you checked the box marked "No" in question III.B above, provide the name and
           address of the prison or jail to which the facts of this lawsuit pertain.



      C. Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?

            VO   Yes            No



      D. Have you presented these facts to the prison authorities through the state grievance
         procedure?           Yes                  v No


      E. If you checked the box marked "Yes" in question III.D above:

           1. What steps did you take? But! I have filed multiple motions for habeas corpus agnst
                                                                                              ai
              the Wardens in the present and prior institutions for illegally restraint.

           2. What was the response of prison authorities? Since the Wardens was represented by
              the State there was no direct response by the institutional authorities.

      F. If you checked the box marked "No" in question IV.D above, explain why not. I was not
         aware that I needed to file a grievance forms with the past and/or present institutions.

      G. Do the facts of your lawsuit pertain to your confinement in a detention facility operated by
         city or county law enforcement agencies (for example, city or county jail, workhouse, etc.)?
              Yes            v No


      H. If "Yes" to the question above, have you presented these facts to the authorities who operate
         the detention facility?       Yes           No

      I. If you checked the box marked "Yes" in question III.H above:

           1. What steps did you take?




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           2. What was the response of the authorities who run the detention facility?



       J. If you checked the box marked "No" in question IV. H above, explain why not.




V      CAUSE OF ACTION

Briefly explain which of your constitutional rights were violated: 4th Amendment; Judicial officers lacked
authorization, probable cause, personal and/or subject matter jurisdiction pertaining to the affidavit of
complaint/arrest warrant. 5th Amendment; the second indictment No.16303 subject the plaintiff twice
for the same offense and was constructively amendment. 6"'Amendment; the initial indictment
No.16177 failure to give notice of any charge offense or the nature and cause. 14th Amendment; the
plaintiff was restraint deprived of life, liberty, and property without due process and equal protection of
the laws. In additional, the court amendment of second indictment No. 16303 when it "incorporated"
any and all filing in the initial case into the second case, then later dismissed the initial case.

VI.     STATEMENT OF FACTS
State the relevant facts of your case as briefly as possible. Include the dates when the incidents or
events occurred, where they occurred, and how each defendant was involved. Be sure to include the
names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 8 %2 inch x 11 inch paper. Write on one
side only, and leave a 1-inch margin on all 4 sides.

In the Circuit Court Clerk's Office at Marshall County Courthouse on April 27, 2004, an affidavit of
complaint and arrest warrant was issued. On May 8' of 2004, the plaintiffs was arrested. On May 11,
2004, the plaintiff was before the General Sessions Court. On June 8, 2004, the plaintiff was before
General Sessions on a hearing of probable cause, the matter was bound-over to the Marshall County
Grand Jury. On June 30" of 2004, the plaintiff was arraigned in the initial Case #16177 on a sixteen
count indictment which failure to charge any offense. A plea of not guilty
                                                                         _     was entered and was duly_
arraigned. On July 21, 2004, on motion of plaintiff, this matter was continued to August 18, 2004. On
August 18, 2004, on motion of plaintiff, this matter was continued to September 22, 2004, On
September 22, 2004, a second sixteen count indictment was returned by the grand jurors charging the
same penal statute under T.C.A. §39-13-503, during the arraignment in the second Case No. 16303 the
defendant's Charles Lee, incorporated any and all filling of the initial Case No. 16177 into second Case
No. 16303. On October 27, 2004, upon motion of plaintiff, this matter was continued to November 17,
2004. On March 15 2005 there was the commencement of trial On March 16 2005 the trial
concluded, the plaintiffs was found guilty by a l'ure for all sixteen (16) separate alleged charges. On
April 26, 2005, a Sentencing Hearing was conducted and plaintiff was sentenced to five consecutive
eleven year sentence for effective total fifty-five(55) years. On February 10, 2006, the charges in the
initial Case #16177 that had prior been "incorporated" into the second active Case No. 16303 was
"Dismiss/Nolle Prosequi."

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                                        THE PLAINTIFF'S CLAIMS:
        I. That the affidavit of complaint document itself was not authorized when defendants (Clerk)
Elina B. Foster and (T.B.I.) Wayne Wesson, did not meet all of the requirements under Article III
Section 15-16 of Tennessee Constitution; Tenn. Code Ann. §4-1-314, thus invalid without the Great
Seal of the State of Tennessee. Article VI § 12 of Tenn. Const.

        II. On April 27, 2004, the contents of the affidavit of complaint and arrest warrant that was
used by the defendants (Clerk) Elina Foster and (T.B.I.) Wayne Wesson, to support the probable cause,
failed to comply with the requirements under Article VI Section 12 of Tennessee Constitution; Tenn.
Code Ann. §18-6-113-114; Article III § 15-16 Tenn. Const; 4"' Amendment. The defendants failed to
support the probable cause by affirmation in accordance with the requirements of the laws, thus,
invalid.

        III. That the defendant's (T.B.I.) Wayne Wesson, executed the unauthorized illegal act on
September 22, 2004, when prosecuting fourteen separate counts not support by probable cause in direct
contravention of Sup. Ct. R. 8, RPC 3.8. On April 27, 2004, the contents of the affidavit of complaint
that was sworn to by defendant's Wayne Wesson, and the determination made defendant's (Clerk) Elina
B. Foster, only established probable cause for one incident allegedly happened on April 11, 2004. On
about June 8, 2004, the preliminary hearing court found probable cause for the same incident found in
the arrest warrant. The court bound-over the alleged offense for grand jury review. The defendant's
(district attorney general) W. Michael McCown, prepared, and the defendant's Wayne Wesson,
prosecuted sixteen separate count with same penal statute T.C.A. §39-13-503 and presented them
before the grand jurors. In Count-1 through 14 those alleged incidents are dated from November 22,
2002 through January 5, 2004. The defendant(s) should have known that the purpose of the warrant is
to serve as the charging instrument. There was only one incident for an offense found in the affidavit of
complaint and arrest warrant and preliminary hearing court examination. Thus, Count 1-14 are void.

        IV. On June 30, 2004, defendant's (Judge) Charles Lee, in the initial indictment failure to put
the plaintiff on notice of any charge offense, due to that it continued the illegal restraint in violation of
plaintiffs 6"' and 14"' Amendments rights. The language in the body of the indictment failed to
demonstrate any sexual penetration in accordance with Tenn. Code Ann. §39-13-501(7). When
charging unlawful sexual penetration of the "primary genital area" in the body of the indictment did not
meet the requirements of the law. Thus, the indictment is void.

       V. The defendant's (Judge) Franklin Lee Russell, executed an unauthorized illegal act when
dismissal of the initial Case No 16177 without dismissal of the second Case No. 16303 the initial case
was incorporated into the second case, thus, became amalgamated. The plaintiffs was convicted, then
months afterward, the defendant's Lee Russell, dismissed Nolle/Prosegi the initial case without
dismissing of the second case. Thus, in violation of plaintiffs due process and equal protection rights.

       VI.     The defendant's (Judge) Franklin Lee Russell and defendant's (Clerk) Elina Foster
executed an unauthorized illegal act when entered Judgments No.16303 against the plaintiffs that was
not recorded in accordance with Tenn. Code Ann. §18-4-103(3) and (7); §18-1-105; 16-1-106.

       VII. The defendant Detective Carol Jean, the arresting officer executed the arrest warrant
without legal authority in the arresting document which not in accordance with the 4`1 Amendment.




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VII. RELIEF REQUESTED: State exactly what you want the Court to order each defendant to do
for you.
       1.The defendant's to admit they violated plaintiffs constitutional rights
       2. The defendant's to compensate the plaintiffs for all injury that was cause by the wrongful
acts committed pursuant to all laws.
       3. To compensate the plaintiff in the amount based on the fairness under all applicable laws.

       I request a jury trial.        V   Yes                 No


                              ADDITIONAL SHEETS ATTACHED
       Defendant(s) against whom this lawsuit is being brought:

           3. Name of the third defendant: Detective Carol Jean

               Place of employment of the third defendant: Lewisburg Police Department

               Third defendant's address: (unknown address)
               Named in official capacity?          V  Yes
               Named in individual capacity?        V  Yes

           4. Name of the fourth defendant: (Judge) Charles Lee
              Place of employment of the second defendant: 302 Marshall County Courthouse,
              Lewisburg, TN 37091
              Fourth defendant's address: (unknown address)

               Named in official capacity?             Yes
               Named in individual capacity?           Yes

           5. Name of the fifth defendant: Assistant District Attorney General, Weakley Eddie

               Place of employment of the second defendant: 302 Marshall County Courthouse,
               Lewisburg, TN 37091
               Fifth defendant's address: (unknown address)


               Named in official capacity?             Yes
               Named in individual capacity?           Yes

          6. Name of the sixth defendant: W. Michael McCown
             Place of employment of the second defendant: District Attorney General at 302
             Marshall County Courthouse, Lewisburg, TN 37091
             Sixth defendant's address: (unknown address)


               Named in official capacity?         v   Yes
               Named in individual capacity?       v   Yes

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          7.   Name of the seventh defendant: Judge Franklin Lee Russel
               Place of employment of the second defendant: 302 Marshall County Courthouse,
               Lewisburg, TN 37091
               Seventh defendant's address: 570 Church Street East Brentwood, 37027 (believed to be
               the known address)
               Named in official capacity?             Yes
               Named in individual capacity?           Yes


VIII. CERTIFICATION

I (Michael White) certify under the penalty of perjury that the foregoing complaint is true to the best of
my information, knowledge and belief.

       Signature:.Iza                                               Date:         11-22-24
       Prison Id. No. 00388508
       Address (Include the city, state and zip code.):




SWORN TO AND SUBSCRIBED before me

this the 22nd day of November 2024.


                                    L
Signature of No&Y             v~
                                   STATE
                                     OF ._
                               TENNESSEE
                                 NOTARY
                                   PUBLIC

                               \ OF 'fFk%
                               My Comm. Expires
                                August 27, 2025




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